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 6   Attorney for Defendant
     XAVIER JOHNSON
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                    )       No. 12-CR-0250-GEB
                                                  )
12                                                )
            Plaintiff,                            )       STIPULATION AND
13                                                )       [PROPOSED] ORDER REGARDING
     v.                                           )       AMENDED SPECIAL CONDITIONS OF
14                                                )       PRETRIAL RELEASE
     XAVIER JOHNSON,                              )
15                                                )
                                                  )       Date: n/a
16                                                )       Time: n/a
            Defendants.                           )       Judge: Honorable Carolyn Delaney
17                                                )
                                                  )
18

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20          In the matter at bar, Defendant seeks to amend the Court’s previously issued Pretrial
21   Release Order issued by the Hon. Carolyn K. Delaney on October 13, 2016.
22          After consultation with all parties it is respectfully requested that Amended Special
23   Condition Number 3 – the no contact order with Audrena Gilbert be dropped. Ms. Gilbert is
24   pregnant with Mr. Johnson’s child.
25          IT IS HEREBY stipulated between the United States of America through its undersigned
26   counsel, Matthew Morris, Assistant United States Attorney, attorneys for plaintiff and Kyle
27   Knapp, attorney for defendant Xavier Johnson; that Amended Special Condition of Release
28   Number three be removed.


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 1          All other terms and conditions of release remain in place.
 2   IT IS SO STIPULATED
 3
     Dated: April 28, 2017                                       PHILLIP A. TALBERT
 4                                                               UNITED STATES ATTORNEY

 5                                                       by:     /s/ Matthew Morris
                                                                 MATTHEW MORRIS
 6
                                                                 Assistant U.S. Attorney
 7                                                               Attorney for Plaintiff

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 9
     Dated: April 28, 2017                                       /s/ Kyle R. Knapp
                                                                 KYLE KNAPP
10                                                               Attorney for Defendant
                                                                 XAVIER JOHNSON
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 1                                             ORDER
 2          The Stipulation of the parties is hereby accepted and the Amended Special Condition of
 3   Release Number 3 – the no association or contact with Audrena Gilbert is hereby removed.
 4
            IT IS SO ORDERED.
 5
     Dated: May 2, 2017
 6                                                 _____________________________________
 7
                                                   CAROLYN K. DELANEY
                                                   UNITED STATES MAGISTRATE JUDGE
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